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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-20726-CIV-UNGARO/O’SULLIVAN

  THE HAYS GROUP, INC.,

           Plaintiff,
  v.

  DEBORAH AICHELE,

        Defendant.
 ________________________________________/

                                INTERIM JOINT STATUS REPORT

          As required by Judge Ungaro’s Order dated September 10, 2018 [D.E. 63], the parties

 hereby answer the following questions:

       1. Have all the defendants been served and answered the complaint? If not, state the reason(s)
          for the failure to do so.

                  Yes.

       2. If this is a class action, has a motion for class certification been filed? If so, what is its
          status?

                  This is not a class action.

       3. If discovery is not closed, what is the parties' agreed upon plan for the completion of
          discovery by the deadline, including but not limited to the exchange of all relevant
          electronically stored information?

                  The parties have issued and responded to extensive written discovery and document
                  requests. Depositions are scheduled between next week and mid-January, and the
                  parties are working diligently toward completing discovery by the deadline of
                  January 18, 2019.

       4. Are there any motions or discovery disputes pending? If so, indicate the status of each
          separately.

                  There are no motions pending; however, there is pending discovery that may result
                  in motion practice. Ms. Aichele propounded a Third Set of Interrogatories and
                  Request for Production to Plaintiff on November 19, 2018 and a Fourth Request for
                  Production to Plaintiff on December 4, 2018. Ms. Aichele also issued subpoenas to
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               non-parties BB&T Company, Capital One, N.A., and JPMorgan Chase Bank, N.A.
               on December 4, 2018. Ms. Aichele is still waiting for responses and documents to
               certain requests of her First Request for Production and First Set of Interrogatories,
               which counsel for Hays has represented Ms. Aichele will receive prior to the
               December 18 deposition of Hays’ corporate representative.

    5. Have the parties filed their Notice of Selection of Mediator as required by the Court's Order
       of Referral to Mediator?

               Yes.

    6. Have the parties agreed to a place, date and time for mediation and has the lead attorney
       for the plaintiff(s) completed the form Order Scheduling Mediation and submitted it to the
       Court? If not, state the reason(s) for the failure to do so.

               Yes.

    7.   Have the parties engaged in informal settlement negotiations? If so, explain the extent of
         the negotiations. If not, explain the reason(s) for the failure to do so.

               Although settlement communications were sent prior to the commencement of the
               litigation, there have been no settlement discussions since that time. Both parties
               have strong feelings about the merits of their positions on the remaining count, but
               both will engage in good faith settlement discussions at mediation and if any other
               opportunities arise.

    8. If the case is less than five days to try, have the parties conferred and have they agreed to
       trial before a U.S. Magistrate Judge, wherein a date certain for trial may be given?

               The parties project that this matter will take approximately six days to try, have
               conferred regarding trial before a Magistrate Judge, and have not agreed to trial
               before a Magistrate Judge.




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 Dated: December 10, 2018                            Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 10th day of December 2018 a true and correct copy of

 the foregoing is being electronically filed with the Clerk of the Court using the CM/ECF filing

 system. I also certify that the foregoing document is being served this date on all counsel of record

 or pro se parties listed below, either via transmission of Notices of Electronic Filing generated by

 the CM/ECF system or in some other authorized manner for those counsel or parties who are not

 authorized to receive electronically Notices of Electronic Filing.

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 Attorneys for Defendant



                                                 /s/Gerald E. Greenberg
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